Case 1:18-cv-05427-JSR Document 174-15 Filed 05/07/19 Page 1 of 8
SIMO HOLDINGS v. UCLOUDLINK                                                  PLAINTIFF'S TRIAL EXHIBIT NO. 259
                            Case 1:18-cv-05427-JSR Document 174-15 Filed 05/07/19 Page 2 of 8
CASE NO. 1:18-cv-5427 (JSR)

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                      •   MINO provide roaming solution to wireless carriers to bring
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                          efficiency and reduce cost of voice roaming.
~                     •   Mino Voice Roaming solution provides roamers with local
                          voice service using virtual local SIM (MINO's proprietary SIM
                          technology not directly attached to roamer's handset).
                      •   Mino will develop software in mobile handset as well as an
                          companion device which will provide local voice service in
                          conjunction with the existing mobile phone.
                      •   MINO is looking for a phone ODM partner who can satisfy
                          our basic requirement to build a prototype phone and be able
                          to go-to-market by selling to carriers worldwide.


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z        •    Option 1: Modifying existing single mode mobile phone
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rn                 •   The candidate is preferred as quad-band global certifiable GSM
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(/)                    mobile phone
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z                  •   Mandatory elements and features :
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                        »   Bluetooth to communicate with existing mobile phone
                             -   SIM access profile
                                   CJ Access SIM at existing mobile phone via Bluetooth (Similar to Car Mobile Phone,
                                      Nokia 616)
                             -   Serial Port Profile
                             -   Sync
                                   CJ Synchronizing phone between local and remote mobile phone
                        ~   Preferred OS
                             -   Microsoft WM 5.0, Linux, or Symbian
                                   CJ Mino needs to develop its own phone dialer for its voice services
                             -   Otherwise, Telephony API should be opened to Mino for developing its dialer
                        )- Cellular Network Access
                             -   Voice only
                             -   Voice or GPRS
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z           •     Use Cases for option 1
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Cf}_                  •   Peering with existing mobile phone via Bluetooth
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m                     •   Registering with cellular network with remote SIM access over Bluetooth
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0                     •   Synchronizing phone book with peered device
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~                     •   Making a phone call via Mino Dialer
                      •   Receiving a phone call
                      •   Reporting status to existing phone
                               Network Registration Status
                           ,   Local Carrier information
                                 -     (MNC , MCC)
                                 -     Local Mobile Phone Number, etc
                           ,   Real-time CDR for each call (incoming/outgoing)
                                 -     Interim CDR per one minute or configurable interval




                                                             Bluetooth
                                                                                             IS07816
                               Existing Mobile
                                   Phone
                                                                                                Mino roaming
                                                                                              Companion phone
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z          •    Option 2: Modifying existing dual-SIM/Dual Mode mobile phone
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Cll                  •   The candidate is preferred as quad-band global certifiable GSM dual-
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m                        SIM/dual-mode mobile phone
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0                    •   Modification of dual-SIM/dual Radio mobile phone
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~                                   Modified one SIM slot (Slot 2) to redirect physical SIM access to virtual Serial Port
                                    (ISO 7816 ~~ VSP)
                                     -   The on/off of this feature is controllable by API or system call , as this feature is only
                                         necessary when user is roaming
                          ,         Preferred OS: WM 5.0
                                     -   Mino needs to develop extra application to interface with the created virtual serial port
                                         (VSP) to handle the payload in/out of VSP
                                    SIM slot 1 with physical SIM card is used for data access
                                     -   Data channel on one radio, such as GPRS/EDGE should be remained active while another
                                         SIM (VSP) is used for making/receiving call under different radio

                                                                                   Mino roaming
                                                                                      phone

                                                                                    VSP



                                                                                    IS07816



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             • Use Cases for option 2
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-<                    •   Switch OnlOff of VSP in SIM slot 2 per Mino application
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                          instruction based on roaming status
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~                     •   Maintain Data connection active using SIM in slot 1 when
                          VSP is on in slot 2
                      •   Making a call using radio from slot 2




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         • Technical feasibility and methodology on both option 1 and 2
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         •    Estimation of implementation
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